      Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 1 of 32
                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                     IN THE UNITED STATES DISTRICT COURT               November 15, 2019
                      FOR THE SOUTHERN DISTRICT OF TEXAS                David J. Bradley, Clerk
                               HOUSTON DIVISION



SERAH DUNPHY , Indiv idually and
on Behalf of A1l Others
Similarly Situated ,

                    Plaintiffs,

V .

PROJECT ARISTOCRAT LIFE                          C IV IL A CT ION NO . H -1 7-12 25
FOUNDATION ; WERUNTEXA S, LLC
d/b/a MERCY; WE RUN HOU, LLC
d/b/a ENGINE ROOM; JONATHAN
REITZELL ; STEVEN A . ROGERS ;
JOHN CARAVELLO ; TANNER COX ;
and MOJEED MARTINS , JR .,

                    Defendants .


                        MEMOPANDUM OPINION AND ORDER


         Plaintiff Serah Dunphy , on behalf of herself and similarly

situated individuals (collectively uPlaintiffs''), filed this action

against defendants Project Aristocrat Life Foundation, WeRunTexas,
LCC d/b/a Mercy, We Run Hou, LLC d/b/a Engine Room, Jonathan
Reitzell, Steven A. Rogers, John Caravello, Tanner Cox, and Mojeed
Martins,          alleging that the defendants violated the Fair Labor

Standards Act (UFLSA'') by failing to pay employees wages for hours
worked      and w ithholding    tips x     Pending before       the   court are



        lsee Plaintiff's Second Amended Collective Action Complaint
(usecond Amended Complaint''), Docket Entry No . 85, pp . 7-8. All
page numbers for docket entries in the record refer to the
pagination inserted at the top of the page by the court's
electronic filing system, CM/ECF.
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 2 of 32


Defendants '     Rule      56   Motion   for    Partial   Summary   Judgment

('ADefendants' MSJ'') (Docket Entry No. 112); Plaintiffs' Motion for
Summary Judgment        C'plaintiffs' MSJ'
                                         ')       (Docket Entry No . 114);
Defendants' Motion for Leave to File Amended Pleading (uDefendants'
Motion to Amend'') (Docket Entry No . 118); Defendants' Supplemental
Motion for Continuance and Response                 Plaintiff's Motion

Summary Judgment (uDefendants' Supplemental Motion for Continuance
and Response'') (Docket Entry No. 120); and Plaintiff's Motion to
Strike Defendants' Supplemental Response to Plaintiffs ' Motion for

Summary Judgment and Defendants' Exhibits             and 4 to Defendants'

Response to Plaintiff's Motion for Summary Judgment CAplaintiff's
Motion         Strike'')    (Docket Entry No. 122)         Only Defendants

WeRunTexas,           d/b/a Mercy (uMercy''), Mojeed Martins, Jonathan
Reitzell, and Steven Rogers (collectively nDefendants'') have filed
motions . For the reasons exp lained below , Defendants ' motions will

be denied , Plaintiff's Motion           to    Strike will be denied , and

Plaintiff's Motion for Summary Judgment will be granted in part and

denied in part .


                 1.     Factual and Procedural Backcround

     Mercy Nightclub (''Mercy'') is located in Houston, Texas, and in
February of 2017 was owned and operated by WeRunTexas , LLC .2

WeRunTexas        co -owned by individual defendants Steven Rogers,

Jonathan Reitzell, and Mojeed Martins, Jr. (collectively uthe

     zDeclaration of John Caravello             (ucaravello Declaration'o ,
Exhibit 6 to Plaintiff's MSJ, Docket Entry No. 114-6, p. 2 ! 2.
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 3 of 32



Co-owners'').3       The Co-owners hired John Caravello as general
manager      to    run    Mercy x         The      Co-owners    were    not     passive

shareholders ; they had areas of responsibility and played some role

   managing the club .5 Steven Rogers, for example, was responsible

for building maintenance .6               The Co-owners oversaw           the    club 's

managers     and    met    regularly        with    John    Caravello    to     discuss

marketing ,       operations,       and   performance .?         John    Caravello 's

uncontradicted       testimony       also    states     that           three

Co-owners were responsible for paying the waitstaff and exercised

control over operations of the c1ub .8

       Mercy hosted several special events on February 2 ,                       4 , and

      2017          that year's Super Bowl .9              Mercy 's Co-owners hired


      3Ora1 Deposition of Steven A . Rogers (uRogers Deposition/o ,
Exhibit 4 to Plaintiff 's MSJ , Docket Entry No . 114 -4 , p . 3 .

     Glohn Caravello Offer Letter, Exhibit 2 to Defendants ' Motion
for Continuance and Response to Plaintiff's Motion for Summary
Judgment     (nDefendants' Response and Motion                  for Continuancev),
Docket Entry No . 119-2, p . 2 ; Rogers Deposition , Exhibit 4 to
Plaintiff 's MSJ , Docket Entry No . 114-4 , p . 1O .
      sRogers Deposition , Exhibit              to Plaintiff's MSJ , Docket Entry
No . 114 -4 , p . 5.
      6Id . at

     Vld. at 1O; Oral Deposition of John Caravello (ncaravello
Deposition'/), Exhibit 5 to Plaintiff's MSJ, Docket Entry No. 114-5,
pp. 11-12; Oral Deposition of Mojeed Martins (''Martins Deposition'o ,
Exhibit 11 to Plaintiff's MSJ , Docket Entry No . 114-13, pp . 5-6 .

     8caravello Deposition , Exhibit                       Plaintiff's MSJ , Docket
Entry No .       pp . 5-6, l6 .
     92017 Super Bowl Event Advertisements, Exhibit 6-B to
Plaintiff's Response to Defendants ' Rule 56 Motion for Partial
Summary Judgment Clplaintiff's Response'o , Docket Entry No. 117-8,
pP . 3-6 .
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 4 of 32


music artists and celebrities to appear at the club in order to

attract more customers over the weekend x o              The events were

advertised online , and table reservations and liquor packages could

be purchased online x l      To handle the expected patronage that

weekend, Mercy     hired    cocktail   waitresses     and   runners     C'the
waitstaff'o , including Plaintiffs, although a dispute exists as to
whether John Caravello or the Co-owners controlled that hiring x z

The waitstaff sold and delivered alcoho l               customers x 3

alcohol served at the events included foreign-made brands such as

Hennessy , D 'ussé , and Cîroc .l4 The waitstaff were also told to post

about the Super Bowl Events on social media xs


     l0Id .; Rogers Deposition , Exh ibit 4 to Plaintiff 's MSJ , Docket
Entry No . 114-4 , p .14 .

     llsuper Bowl Event Advertisements, Exhibit 6-B to Plaintiff's
Response , Docket Entry No . 117-8, pp . 3-67 Caravello Declaration ,
Exhibit 6 to Plaintiff's MSJ, Docket Entry No. 114-6, p. 3 ff 7-8.
     HDeclaration of Jonathan Reitzell PAReitzell Declarationro ,
Exhibit 1 to Defendant's Response and Motion for Continuance ,
Docket Entry No. 119-1, p. 2 ! 2 (ulohn hired al1 of the young
ladies.'o ; Caravello Deposition, Exhibit 4 to Plaintiff's MSJ,
Docket Entry No. 114-5, p . 8 C'The owners of the business (had
final say on hiringl.v).
     HDefendants' Amended Answers to          Plaintiff's First Set of
Interrogatories to Defendants (uDefendants' Interrogatory Answers'o ,
Exhibit 2 to Plaintiff's Response, Docket Entry No . 117-2 , p . 16
Interrogatory 15; Caravello Declaration , Exhibit 6 to Plaintiff's
MSJ, Docket Entry No. 144-6, p. 3 ff 6, 8.
      Msuper Bowl Liquor Menu , Exhibit 6-A to Plaintiff 's MSJ ,
Docket Entry No . 114-7 , pp . 2-3 ; Super Bowl Event Advertisements ,
Exhibit 6-B to Plaintiff's Response , Docket Entry No . 117-8 ,
pp . 3-6 .
     HDunphy Declaration , Exhibit 8 to Plaintiffs ' Response, Docket
Entry No. 117-10, p. 3 $ 67 Declaration of Erin Carantza (ncarantza
                                                            (continued - .)
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 5 of 32



      The waitstaff's pay was :
                              '$2.13 per hour worked plus tips.''l6
The tips included all credit card and cash tips earned , plus a flat

rate for gratuities on party packages x 7 According to Plaintiffs,
they collected uthousands of dollars in cash tip s alone'' during the

events .l8   But the waitstaff were required to turn in tip s earned

each night        that they could be pooled x g          Mercy 's Employee

Handbook and deposition       testimony state that five percent of

waitstaff tips should have been tipped out to the service bartender

and sweeper staff , and the remainder shou ld have been divided

between the waitstaff who worked that shift and paid back to them

as part of their paychecksxo The hired waitstaff worked seven to

eight hours each night of the Super Bowl Events, and some worked

additional hours on February 4 , 2017 .21


     lst- .continued)
Declaration''), Exhibit 10 to Plaintiffs' Response, Docket Entry
No. 117-12, p. 3 ! 6.
     l6Defendants ' Interrogatory Answers , Exhibit 2 to Plaintiff 's
Response, Docket Entry No . 117-2, p . 16 Interrogatory 16.

      l7oral Deposition of Mojeed Martins (uMartins Deposition'o ,
Exhibit 11 to Plaintiff 's Response , Docket Entry No . 117-13 , p . 8 .

      l8Declaration of Serah Dunphy in Support of Response to Motion
for   Summary   Judgment    (MDunphy    Declaration/'),     Exhibit    8    to
Plaintiffs' Response, Docket Entry No. 117-10, p. 3 f 8.
      HDunphy Declaration , Exhibit 8 to Plaintiffs ' Response , Docket
Entry No. 117-10, p. 3 $f 5, 8.
      zoMercy Nightclub Employee Handbook, Exhibit 7 to Plaintiffs'
MSJ , Docket Entry No . 114-9 , p . 14; Dunphy Declaration , Exhib it 8
to Plaintiffs ' Response , Docket Entry No. 117-10, p. 3 f 5.

      nDunphy Declaration , Exh ibit 8 to Plaintiffs ' Response , Docket
Entry No. 117-10, p. 3 $ 7.
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 6 of 32



     On February        2017, Steven Rogers, a Co -owner of Mercy , paid

the Super Bowl event waitstaff with personal checks                 his own

name .22 According to uncontradicted statements from Plaintiffs and

John Caravello , the amount paid did not account for the fu ll amount

of tips and wages the waitstaff earned during the Super Bowl

weekend events .23

     Plaintiffs filed this action on April              2017, seeking the

alleged unpaid minimum wages and tip s for herself and others

similarly situated under the FLSA .24 Defendants filed their answer

on March 23 , 2018 .25 Plaintiffs' most recent amended comp laint was

filed on June        2019.26 Discovery has concluded and on August

2019 , the court set the case for trial on September 23, 2019 , and

later rescheduled the trial for December          2019 .27 With the leave


     22Id. at 3 $ 10; Carantza Declaration, Exhibit 10 to
Plaintiffs' Response, Docket Entry No. 117-12, p. 3 f 10; Steven
Rogers Checks, Exhibit 12 to       Plaintiffs ' Response , Docket Entry
No . 117-14 , pp . 2-3 .

     23Carave1lo Deposition , Exhibit 5 to Plaintiffs ' Response,
Docket Entry No . 117-5, p . 4 ; Serah Dunphy Declaration , Exhibit 8
to Plaintiffs' Response, Docket Entry No. 117-10, p. 3 f 87
Carantza Declaration , Exhib it 10 to Plaintiffs' Response , Docket
Entry No. 117-12, p. 3 $ 9.
     M plaintiff's Original Collective Action Complain , Docket Entry
No. 1, pp. 1, 9 ! 8.3.
     MDefendants' A ffirmative and Other Defenses and Answer to
Plaintiffs' First Amended Collective Action Comp laint, Docket Entry
No . 32.

     26second Amended Complaint, Docket Entry No . 8 5 .

     MMinute Entry Order, Docket Entry No. 1O7 (setting the trial
for September 23, 2019); Order Granting Plaintiffs' Unopposed
Motion for Continuance of Trial, Docket Entry No. 11O (resetting
the trial for December 2, 2019).
    Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 7 of 32



of the court, Defendants filed their motion for summary judgment on
September 11 , 2019 , contending that there is no evidence that would

establish that the FLSA applies .28        Plaintiffs filed their motion

for summary judgment on September           2019, seeking judgment on a1l
elements of their FLSA claim except damages x g           Plaintiffs filed
their    response   on   October       2019 .30        October          2019,

Defendants filed a motion for leave to amend their answer .3l                On

October 18, 2019 , Defendants filed a response and a motion asking

the court to continue its consideration of the motions for summary

judgment until       decides the motion to amend.32 Defendants filed
a supplemental motion to their response on October 21, 2019 .33 On

October 25 , 2019, Plaintiffs filed their rep ly and also a motion to

strike one of Defendant 's response briefs and two of Defendant's

exhibits .34 On November 4, 2019, Plaintiffs filed a response brief

opposing Defendants' motion for leave to amend .35


       z8Defendant's MSJ , Docket Entry No . 112 .

       zgplaintiffs ' MSJ , Docket Entry No .

       M plaintiffs' Response , Docket Entry No .

       HDefendants' Motion to Amend , Docket Entry No . 118 .

       HDefendants' Response and Motion for Continuance , Docket Entry
No .

     HDefendants' Supplemental Motion for Continuance and Response ,
Docket Entry No . 120.

      Mplaintiffs ' Reply in Support of Plaintiffs' MSJ, Docket Entry
No . 123; Plaintiffs' Motion to Strike , Docket Entry No . 122 .
     3splaintiffs' Response to Defendants' Motion for Leave to File
an Answer to Plaintiffs ' Second Amended Comp laint, Docket Entry
N o . 124 .
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 8 of 32



        II . Motion to Strike and Adm issibilitv of Exhibits

     The court must first resolve Plaintiffs' Motion to Strike

Defendants' Supplemental Response and two of Defendants' exhibits .

Defendants filed their response to Plaintiffs' MSJ on its due date,

twenty-one days after Plaintiff filed her motion .36            Three days

later, Defendants filed their supplemental response x? Plaintiffs

argue that the supplemental response should be stricken because it

was filed late without leave of the court .38 However , the court has

a strong policy of resolv ing issues on the merits rather than on

procedural technicalities . Oramulu v . Washington Mutual Bank , C .A .

No. H-08-00277, 2009 WL 7838118, at *2 (S .D . Tex. June             2009).
Accordingly , the Motion to Strike Defendants' Supplemental Response

will be denied .

     Plaintiffs also move to strike Exhibits 3 and 4 to Defendant's

Response x g Exhibit 3 appears to be an unsigned contract drafted

by John Caravello that would have granted him greater scope of

authority as manager of Mercy Nightclub x D Exhibit 4 appears to be

a text message conversation dated January 3, 2017, between several

women and the Mercy managers, where John Caravello , called uboss''


     36Defendants' Supplemental Motion for Continuance and Response,
Docket Entry No . 120.
     37y('
         j.

     38plaintiffs' Motion to Strike , Docket Entry No . 122 , p .
     39Id . at 3-5 .

     O caravello Contract, Exhib it 3 to Defendants ' Response and
Motion for Continuance, Docket Entry No . 119-3 , pp . 2-6 .
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 9 of 32


in the conversation , informs the women that they can come pick up

their tips .4l To authenticate these documents , Defendants prov ide

a declaration by Jonathan Reitzel that he has personal knowledge of

the exh ibit .42 Testimony by a knowledgeable witness may suffice to

support a finding that an item is what           purports to be and thus

sufficiently authenticated for admission into evidence .             Fed .

      P. 9O1(b)(1)7 Thompson v . Bank of America National Association,

783          1022, 1027 (5th          2015).        the summary judgment
stage , Reitzel's statement that the exhibits are what they purport

   be satisfies the 1ow burden for authentication .

      Plaintiffs also argue that the exhibits should be stricken

because the contract bears no signatures and the tex t message does

not show John Caravello was            fact Plaintiffs' boss .43       These

arguments relate to whether the exh ibits show a genu ine issue of

material     fact   rather     than   whether    they    are     admissible .

Accordingly , the court will deny Plaintiffs' Motion to Strike the

exhibits .    The court will consider b0th Defendants' Supp lemental

Response and           Defendants' exhibits in deciding the pend ing

motions .

      In their Supplemental Response , Defendants argue that the

court should disregard the Caravello Declaration               (Docket Entry


     H Text Message , Exhibit 4 to Defendants ' Response and Motion
for Continuance , Docket Entry No . 119-4 .
     HDeclaration of Jonathan Reitzel , Exhib it l to Defendants '
Response and Motion for Continuance , Docket Entry No . 119-1 , p . 1 .
      O plaintiffs' Motion to Strike , Docket Entry
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 10 of 32



No . 114-6) as a sham declaration x4 A sham declaration is one that
contradicts the declarant's prior deposïtion testimony to raise a

fact issue . Doe ex rel . Doe v . Dallas Independent School District,

    F.3d 380, 386 (5th Cir. 2000). Defendants do not point to any
prior deposition testimony that the declaration contradicts, and

the court concludes the sham affidavit rule does not app ly .


               111 . Summary Judqment Standlr; of Review

      Summary judgment is appropriate if the movant establishes that
there is no genuine dispute about any material fact and the movant

is entitled to judgment as a matter of law. Fed.             Civ .    56 (a).
Disputes about material facts are genuine            the evidence is such

that a reasonable jury could return a verdict for the nonmoving
party .''   Anderson v . Liberty Lobbv , Inc . ,
                                               -                 2505 , 2510

(1986). The moving party is entitled to judgment as a matter of
law if uthe nonmov ing party has failed to make a sufficient showing

on an essential element of her case with respect to which she has

the burden of proof .'' Celotex Corp . v . Catrett ,           S.      2548,

2552 (1986)

        party moving for summary judgment nmust 'demonstrate the
absence of a genuine issue of material fact ,' but need not negate

the elements of the nonmovant 's case .'' Little v . Liquid A ir Corp w

37 F .3d 1069, 1075 (5th Cir. 1994) (en banc) (per curiam) (quoting
Celotex, lO6 S. Ct. at 2553). nIf the moving party fails to meet

     GDefendants' Supplemental Motion for Continuance and Response ,
Docket Entry No . 120.
  Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 11 of 32



this initial burden, the motion must be denied , regardless of the

nonmovant's response .'' Id . If the mov ing party meets th is burden ,

Rule 56 (c) requires the nonmovant to go beyond the pleadings and
show        affidavits, depositions, answers          to    interrogatories,

admissions on file, or other admissib le ev idence that specific

facts exist over which there is a genuine issue for trial .                    Id .

The nonmovant ''must do more than simply show that there is some

metaphysical doubt as to the material facts .'' Matsushita Electric

Industrial Co ., Ltd . v . Zenith Radio Corp .       106 S . Ct . 1348 , 1356

(1986).
       In reviewing the evidence nthe court must draw all reasonable

inferences       favor       the nonmov ing party , and           may not make

credibility determinations or weigh the evidence .''                 Reev es    v.

Sanderson Plumbinq Products , Inc .,                      2097,         (2OOO).
The court resolves factual controversies in favor of the nonmovant ,

ubut only when there is an actual controversy , that is, when b0th

parties have submitted evidence of contradictory facts .''              Little,

          at 1075.


                     IV .   FLSA Comm erce Recuirement

       Plaintiffs assert a      claim      against defendants       for unpaid

minimum wages and tips under the FLSA .45 see 29 U.S .C.                216 (b).
The FLSA 'S wage and tip provisions apply only to employees ''engaged

in commerce or           the production        of goods    for    commerce''


       45second Amended Complaint, Docket Entry No . 85, p . 8 .
                                    -
                                        1 1-
     Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 12 of 32


uemp loyed in an enterprise engaged in commerce or in the production

of goods for commerce.'' Id . 5 206 (a). Defendants' MSJ contends
that no evidence supports that Plaintiffs were engaged in commerce

or emp loyed by an enterprise engaged             commerce and so the FLSA

does not cover Plaintiffs .46 Plaintiffs argue that Defendants are

bound by their p leadings , which admit               being an enterprise

engaged in interstate commerce, and that the evidence presents a

genuine issue of material fact on the issue .47 Defendants request

leave to amend their answer to remove the admission that they are

an enterprise engaged in commerce x 8


A.     Judicial Adm ission and Motion for Leave to Amend

       Facts admitted in the pleadings uare considered to be judicial
admissions conclu sively binding on the party who made them .'
                                                             ' White

v. ARco/polymers, Inc w 720 F.2d 1391, 1396 (5th Cir. 1983). Once
admitted , the facts are considered uno longer at issue .'' Davis v .

A .G. Edwards and Sons, Inc., 823 F.2d 105, l08 (5th Cir. 1987).
When Defendants pled an admission that they ''were an enterprise

engages Esic) in commerce or in the production of goods for


       46Defendants' MSJ, Docket Entry No. 112, pp. 4-5 $$ 14-16.
       U plaintiffs ' Response , Docket Entry No . 117, pp . 11-12.
     48Defendants ' Motion to Amend , Docket Entry No . 11 8 ; comp are
Defendants ' Answer to Plaintiff 's Second Amended Collective Action
Complaint, Exhibit A to Defendants ' Motion to Amend, Docket Entry
No. 118-1, p. 5 ! 5.2 with Defendants Affirmative and Other
Defenses and Answer to Plaintiffs ' First Amended Collective Action
Complaint (sicq (uDefendants' Answer'o , Docket Entry No. 32, p . 4
! 5.2.
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 13 of 32


commerce within the meaning of the FLSA ,''49 they bound themselves

   that statement and agreed that the FLSA 'S commerce requirement

was not a contested issue in this case . Defendants may not rely on

an argument         summary judgment that controverts their prior
judicial admission.        Bowman v. CitiMortqaqe, Inc., 768 F. App'x
            (5th Cir . 2019)
     Defendants do not contest that their p leading adm its that the

FLSA 'S commerce requirement          met .   Instead, they move for leave

to amend their pleading to remove that admission x o Leave to amend

pleadings nshall be freely given when justice so requires.'' Fed.
Civ . P. l5a (a)        But leave to amend        not automatic and nthe
decision to grant or deny leave               amend lies within the sound

discretion of the district court .'' Little v . Ligu id Air Corp w 952

F.2d 841, 845-46 (5th Cir. 1992). Factors the court may consider
in exercising that discretion include undue delay , bad faith or

dilatory motives, repeated failures               cure deficiencies when

previously allowed, and undue prejudice to the opposing party. Id.
Motions        amend    the p leadings made after the conclusion of

discovery    and   on   the   eve      trial , as here, are      especially

disfavored .   Id .; Daves v . Payless Cashwavs , Inc .,         F .2d 1022,

1025 (5th Cir. 1981).


     O Defendants ' Answer ,        Docket Entry No. 32, p. 4 f 5.2
(admitting to the allegation in Plaintiffs' Original Collective
Action Complaint Cïoriginal Complaint''), Docket Entry No. 1, p . 5
$ 5.2).
     ODefendants' Motion to Amend , Docket Entry No . 118 , p .
     Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 14 of 32


       Defendants ' motion was subm itted thirty months after Plaintiff

filed her Original Complaint and nineteen months after Defendants'

Answer .sl Defendants argue that their amended answer is responsive

to Plaintiffs ' Second Amended Complaint , filed on June 4 , 2019 , but

that amendment did not change or add to the allegation of FLSA

commerce        paragraph 5 .2 .52              allegation has been part

Plaintiffs' claim s since the outset of this action .                 Because

Defendants have had ample opportunity                amend their answer and

retract their judicial admission, denial of their late motion to
amend is appropriate. See id. (holding that a delay of over a year

in requesting leave to amend justified denial of leave to amend).
Accordingly , Defendants' Motion                 Amend will be denied, and

Defendants are bound by their admission that the FLSA commerce

requirement         satisfied .    Defendants' Supplemental Motion for

Continuance requesting that the court delay ruling on Plaintiffs '

MSJ until after allowing Defendants' Motion to Amend w ill be denied

a s m oo t .


B.     FLSA Coverage Merits

       Even      Defendants were not bound by their adm ission , to

prevail on their own summary judgment motion Defendants must

     5lId . (filed October 14, 2019); Original Comp laint, Docket
Entry No. 1 (filed April 19, 2017); Defendants' Answer , Docket
Entry No. 32 (filed March 23, 2018).
       Ooriginal Complaint, Docket Entry No. 1, p. 5 $ 5.2;
Plaintiffs' First Amended Collective Action Complaint                 ('AFirst
Amended Complaintv), Docket Entry No. 16, p. 5 f 5.2; Plaintiffs'
Second Amended Complaint, Docket Entry No. 85, p. 5 f 5.2.
                                     -   14 -
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 15 of 32



establish that there is no ev idence that wou ld create a genuine

issue of material fact as to FLSA coverage .              Little, 37 F .3d at

1075.        Plaintiffs meet their summary judgment burden by showing
there is evidence that supports FLSA coverage as a matter of law ,

Defendants must cite evidence that would show a material disputed

fact .    Id .

       An unpaid-wages claimant may              satisfy the FLSA 'S commerce

requirement by showing that the employee-plaintiffs engaged ''in

commerce or in the production of goods for commerce'' (uindividual
coverage'o , or that the employer-defendant is                nan enterprise
engaged          commerce or the production of goods for commerce''

(nenterprise coverage'')        29 U .S.C. 5 206 (a); Martin v . Bedell, 955
       1029,         (5th Cir. 1992). The statute defines ncommerce'' to
mean      utrade,     commerce ,     transportation ,      transm ission ,    or

communication among the several States.'' 29 U .S.C.              2O3(b). The
statute also defines uenterprise engaged in commerce or                      the

production of goods for commerce'' as one that :

       (i)    has employees engaged in commerce or in the
       production of goods for commerce , or that has emp loyees
       handling , selling , or otherwise working on goods or
       materials that have been moved in or produced for
       commerce by any person ; and

       (ii) is an enterprise whose gross volume of sales made
       or business done is not less than $500,000.

Id. 5 203(s) (1) (A) (i) (ii)      Individual coverage is narrow , and only
applies to emp loyees whose work directly and substantially involves

interstate       commerce .   Mendoza      v . Detail Solutions, LLC , 9ll

                                      -
                                          15 -
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 16 of 32



F. Supp . 2d 433, 440 (N .D . Tex . 2012).            Enterprise coverage,
however, is broadly defined ;       app lies not only when an enterprise

has   employees    directly   engaged   in    commerce ,        also    where

employees handle , sell, or otherwise work on goods that have been

moved in or produced for interstate commerce. 29 U .S .C. 5 2O3 (b);
see Landeros v . Fu Kinq, Inc w              Supp .    1020, 1023-24 (S .D .
Tex . 2014) (discussing the expansive nature of FLSA enterprise
coverage).

          Enterprise Coverage

      FLSA enterprise coverage has tWo elements:              (l) that the
employer 's employees engaged in qualify ing activity , and              that

the employer's gross sales exceed $500,000 annually .                  U .S.C.
5 2O3 (s)(1)(A).     The first element can be satisfied if goods
handled or sold by the enterprise's emp loyees moved across state

lines at some time in the flow of commerce. Id. 5 203 (s) (l) (A ) (i);
Brennan v . Greene 's Propane Gas Service , Inc ., 479 F .2d 1027,

1030-31 (5th Cir. 1973); Landeros,               Supp. 3d at 1023-24. It
is not disputed that the record establishes that John Caravello and

the waitstaff, employees of Mercy , ordered , handled , or sold well-

known brands        liquor such as Hennessy , D 'u ssé , and Cîroc on

behalf of the nightclub x3 Plaintiffs have not, however, pointed



      53Super Bowl Liquor Menu , Exhibit 6-A to Plaintiffs ' MSJ ,
Docket Entry No . 114-7, pp . 2-3 ; Super Bowl Event Advertisements ,
Exhibit 6-B to Plaintiffs ' Response , Docket Entry No . 117-8,
pp . 3-6 .
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 17 of 32


to any evidence that this liquor traveled across state lines .

Instead , Plaintiffs argue that the court may infer the liquor must

have    traveled   in    interstate    commerce   because     they    are   not

manufactured in Texas .54 Plaintiffs therefore appear to argue that

the court take judicial notice that these liquors are not produced
   Texas , which would require that this fact                 .'(1) generally

known within the trial court's territorial jurisdiction; or                 Can

be accurately and readily determ ined from sources whose accuracy

cannot reasonably be questioned .'' Fed .         Evid . 2O1 (b). The court

concludes        may take judicial notice of the origin                  famous
foreign -made liquors such as Hennessy , D 'ussé , and Cîroc, and thus

any stocked and sold by Mercy must have traveled                     interstate

commerce.     Accordingly,        first element of 5 2O3 (s)(1)(A) is
satisfied as a matter of 1aw because there is no genuine issue

material fact as to whether Mercy 's emp loyees handled and sold

foreign -made liquors that had traveled in interstate commerce .

       The second element of          5 2O3(s) (1) (A) requires that the
enterprise 's ''gross volume          sales made or bu siness done is not

less than $500,000.''       29 U .S.C. 5 2O3 (s)(1)(A)            Plaintiffs
argue that this element is satisfied by John Caravello 's statements

that Mercy grossed approximately $400,000 over the course of the
2017 Super Bowl weekend events alone , and that the nightly closeout

reports    for   Super   Bowl weekend     indicated   sales    of at     least



       s4plaintiffs ' MSJ , Docket Entry No . 114 ,     12 .
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 18 of 32



$125,161.55 Defendants' briefing does not address the gross sales
issue at a11 or raise         as a basis for their summary judgment
motion .     It   is   Plaintiffs' burden , however , to       demonstrate

entitlement to summary judgment on the issue. Little, 37 F.3d at
1 075 .

      Plaintiffs argue that the $400,000 figure conclusively shows
the statutory threshold is met because under the urolling quarter''

method of computation, a quarterly income over $125,000 establishes
annual income of $500,000.56 This, however, is not a fair statement
           rolling quarter computation method promulgated by             the

Secretary of Labor and approved by the Fifth Circuit . See Donovan

v . 1-20 Motels, Incw      664 F.2d 957, 958 (5th Cir. 1981).         Under
that guidance, most businesses should determine FLSA coverage ''at

the beginning of each quarter              by calculating Ethe) annual
dollar volume based on the sum of the four preceding quarters .''

Donovan , 664 F .2d at 958 . Multiply ing a single quarter of sales to

estimate an annual figure is only appropriate for a new business

that has only been in operation for a single quarter . Landeros ,

    Supp. 3d at 1026 (citing 29 C.F .R. 5 779.259).            Neither the
parties nor the record suggests Mercy was a new business in the

first quarter of 2017, and there is no evidence in the record of


      Oplaintiffs' MSJ , Docket Entry No . 114, pp . 14-15; see
Caravello Deposition , Exhibit 5 to Plaintiffs ' MSJ , Docket Entry
No . 114-5, p . l4 ; Caravello Declaration , Exhibit 6 to Plaintiffs '
MSJ, Docket Entry No. 114-6, p. 3 $ 9; Closeout Records, Exhibit 3
to Plaintiffs ' MSJ , Docket Entry No . 114-3, pp . 1-13 .
      sGplaintiffs' MSJ , Docket Entry No .
    Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 19 of 32



Mercy 's sales in any quarters before or after the 2017 Super Bowl

ev en t s .

       In the absence of other ev idence, the close-out records and

Caravello 's statement might support an inference that Mercy did

$500,000 in gross sales annually that year, but the court cannot
draw     such    an   inference     against        Defendants          considering

Plaintiffs' MSJ . See Reeves, 120 S. Ct. 2097, 2110 (2000) (''ETlhe
court must draw al1 reasonable inferences in favor of the nonmov ing

party ./').     Accordingly, Plaintiffs have not met their burden to
show there is no genuine issue of material fact as to the second

element of       203 (s) (l) (A )   But neither have Defendants met their
burden to show Plaintiffs have no evidence supporting the two

elements of enterprise coverage .                But for Defendants' admission ,

whether Mercy grossed at least $500,000 annually would be an issue
for trial .


              Individual Coveraqe

       The parties also 50th argue that there is no genuine issue of

material fact as whether Plaintiffs qualify for FLSA indiv idual

coverage .      Plaintiffs contend that Mercy 's waitstaff was uengaged

in commerce'' because their duties included serving liquor to out-

of-state      customers who were v isiting Houston              and    advertising

Mercy 's events on the internet .s?               Defendants argue that these

activities do not satisfy the statutory requirement because they


       bgplaintiffs ' Response , Docket Entry No .                    20 .
                                      -   1 9-
    Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 20 of 32



either do not qualify as engagement w ith interstate commerce or

because they were not a significant part of Plaintiffs ' duties .58

         An employee is considered personally engaged in interstate

commerce when nthe work is so directly and v itally related to the

functioning     of   an   instrumentality           facility     of   interstate

commerce as to be, in practical effect , a part of it , rather than

isolated local activ ity .''     Sobrinio v . Medical Center Visitor 's

Lodge, Incw      474 F.3d 828, 829 (5th Cir. 2007).              ''(A)ny regular
contact with      commerce, no matter         how   small, will       result   in

coverage.'' Id . (quoting Marshall v . Victoria Transportation Co .,
In c w        F.2d 1122, 1124 (5th                1979))       An employee who
regularly uses an instrumentality of interstate commerce is engaged

in commerce .    Thorne v . A11 Restoration Services, Inc w             448 F .3d

1264, 1266 (11th Cir. 2006). It is well-settled that the internet
is an instrumentality of interstate commerce .                United States v .

Barlow , 568 F.3d 215, 22O (5th Cir. 2009); see also Miller v .
Centerfold     Entertainment    Club ,    Inc w     No .    6:14-CV -6O74 ,

WL 3425887, at *3 (W.D . Ark. Aug. 9, 2017) (holding that employees
who regularly use the internet as part                     their job have FLSA
individual coverage); Foster v . Gold & Silver Private Club , Incw
Civil Action No. 7:14CV00698, 2015 WL 8489998, at *6 (W .D . Va.
Dec.       2015) (same).



      SSDefendants' Response and Motion for Continuance , Docket Entry
No . 119, pp . 6-7 .
                                    -
                                        20-
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 21 of 32



     The only evidence that Plaintiffs regularly used the internet

while working for Mercy is a statement in Plaintiffs ' declarations

that the waitstaff were utold to put the                 Super Bowl events on

our social media            to promote the events .'
                                                   'sg             This does not

suffice to establish Plaintiffs' job duties included a regular use
of the internet . There is no evidence the waitstaff actually used

the internet , much less with any regu larity .

     Plaintiffs cite no authority that wou ld support that merely

serv ing customers who are visiting from out-of-state qualifies as

FLSA commerce . The Fifth Circuit has held otherwise . In Sobrinio

a driver who provided local transportation to a motel's customers

sued his employer under the FLSA .             474 F .3d at 829 .     The driver

argued     that he   was engaged              commerce   because    he   prov ided

transportation to out-of-state guests, though he                     not provide

transportation to or from any interstate transportation points such

as an airport .      Id .   The Fifth Circuit held that because the

driver 's activities occurred after the customers had completed

their interstate travel and before they began their departure , they

were local in character and not part of interstate commerce .                 Id .

   830 .    Like the driver in Sobrinio , Plaintiffs served out-of-

state customers after they had completed their interstate journey
to Texas and before they began their departure journeys. That some

     ODunphy Declaration , Exhibit 8 to Plaintiffs' Response , Docket
Entry No. 117-10, p. 3 ! 6; Carantza Declaration, Exhibit 10 to
Plaintiffs' Response, Docket Entry No. 117-12, p. 3 f 6.
                                   -
                                       21 -
     Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 22 of 32



customers were from out of state does not suffice to satisfy

commerce or the FLSA 'S indiv idual coverage . It is the Plaintiffs'

burden to prove FLSA coverage .           Id . at 829 .     Plaintiffs have

pointed to no evidence or facts that would establish individual

Coverage .


C.     Summary Judgment Conclusions on FLSA Coverage

      As explained above , the court concludes that the ev idence

shows that there would have been at least a genuine issue of

material fact as to the second element of enterprise coverage, the

$500,000 revenue threshold.          Defendants, however, are bound
their admission that Mercy is an enterprise engaged in commerce

under the definition of the FLSA and therefore are not permitted to

argue otherwise at summary judgment or at trial.                Bowman, 768
     App 'x at 224 ; Dav is, 823 F .2d at 108 .        The court therefore

considers     enterprise     coverage     to    have    been    conclusively

established .     There is , however , no basis in the record to support

that Plaintiffs are eligible for individual coverage under the

FLSA . Defendants ' MSJ will be denied because FLSA coverage is the

only issue       raised .   Plaintiffs ' MSJ will be granted as to the

establishment of enterprise coverage .


                   V.   Emplover-Emp lovee Relation ship

A.    The Co-owners' Employer Status

      uAny employer'' who violates the FLSA 'S min imum -wage provisions

are liable to their employees.         29 U .S .C. 5 216 (b).    The statute
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 23 of 32


includes Many person acting directly or indirectly in the interest

of an employer in relation to an employee'' as an uemployer .'' Id .

  203 (d).    This generally means 50th a          corporate entity and

officers who exert operational control over the entity may

considered uemployers'' and are jointly and severally liable for
unpaid wages. Donovan v . Grim Hotel Co ., 747 F.2d 966, 972 (5th
Cir. 1984). Plaintiffs argue that uncontested evidence demonstrates
that under the FLSA defendants Rogers, Martins , and Reitzell, the

Co-owners of Mercy , are uemployers'' who may be liable to the

waitstaff for unpaid wages .6o      Plaintiffs point to statements by

John Caravello and Steven Rogers that Rogers, Martins, and Reitzell

were involved          managing Mercy .     Defendants argue       that   the

Co-owners were not FLSA emp loyers of the waitstaff because they did

not directly hire or supervise them .6l        In particular , defendants

argue that because John Caravello hired the waitstaff , superv ised

them , wrote the Employee Handbook , and was called nboss'' by some of

them , only he and not the Co -owners can be considered the FLSA

employer of the waitstaff x z

     Under the Fifth Circuit's econom ic reality test , factors to

consider when determining           a person        an employer include

uwhether the alleged employer :            possessed the power to h ire


     6oplaintiffs ' MSJ , Docket Entry No .         pp . 16-17 .

      HDefendants ' Response and Motion for Continuance , Docket Entry
No . 119, pp . 3-4 .
     62Id . at 4-5 .
    Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 24 of 32



and fire the employees, (2) supervised and controlled employee work
schedules or conditions of employment,               determ ined the rate and

method of payment, and         maintained employment records .''' Grav

v. Powers, 673 F.3d 352, 355 (5th Cir. 2012). The Plaintiffs need
not establish each element to prove employer status .            Id . at

The FLSA 'S remedial purpose        requires a broader definition of

uemployer'' than        the traditional common law .          McLaughlin v .

Seafood , Inc., 867 F.2d 875, 877 (5th Cir. 1989). The definition

includes    an    individual     who       udominates         corporationrs)
adm inistration or otherwise acts, or has the power to act, on

behalf of the corporation vis-a -vis its emp loyees .''             Reich v .

Circle C . Investments, Inc ., 998 F.2d 324, 329 (5th Cir. 1993)           An
owner of a business who does not manage employees on a day-to-day

basis but nonetheless oversees the business 's activities and has

the power to hire and fire employees, including managers, may be an

nemp loyer'' under the FLSA . Reich v . Priba Corp w 890 F . Supp .

59l (N .D . Tex . 1995).
     Uncontradicted     deposition       testimony    establishes   that   the

Co -owners had and exercised the power to h ire managers, would coach

them to improve performance , and consult with them on promotions

and events .63 John Caravello states w ithout contradiction that all

three of the Co-owners were responsible for pay ing the waitstaff


      63Rogers Deposition , Exhibit 4 to Plaintiffs' MSJ, Docket Entry
No . 114-4 , pp . 9-12; Caravello Deposition , Exhibit 5 to Plaintiffs '
MSJ , Docket Entry No . 114-5, pp . 11-12 ; Martins Deposition,
Exhibit 11 to Plaintiffs' MSJ , Docket Entry No . 114-13, pp . 5-6 .
                                    -   24 -
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 25 of 32



and exercised control over operations of the c1ub .64                 The record

also contains checks signed by Steven Rogers made out to members of

    waitstaff, including Plaintiff .6s             These facts suffice

establish that the Co -owners were FLSA employers because they acted

or had the power to act directly or indirectly in the interest of

Mercy in relation to an employee. See 29 U .S.C. 5 302 (d). Because
Plaintiffs have accordingly met their burden under Rule 56 (c) to
show there is an absence of a genu ine issue of material fact as to

whether the Co-owners are FLSA emp loyers, the burden shifts

Defendants to point to evidence in the record that would show a

genuine issue of material fact .         See   Little ,     F .3d at 1071 .

     Defendants argue that the Co-owners were not employers of the

waitstaff because John Caravello exerted exclusive and comp lete

control over the waitstaff .           Defendants cite no authority

support that an individual can prove he was not an employer by

demonstrating   that   another    indiv idual      was    also   an    employer .

Defendants also cite no authority              support that their employer-

like actions in closely supervising John Caravello are irrelevant

to whether they were employers of other Mercy employees . The text

of the statute assigns emp loyer status to any person who acts on

behalf of the legal employer (here, Mercy) in relation to ''an


     64caravello Deposition , Exhibit           to Plaintiffs ' MSJ , Docket
Entry No . 114-5, pp . 5-6, 16 .
      65Rogers Checks, Exhib it 12 to Plaintiffs' MSJ , Docket Entry
No . 114-14 , pp . 2-3.
                                   -
                                       25 -
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 26 of 32



employee.'' 29 U .S.C. 5 216(b). The statute does not require the
person to act in relation to specifically the employee who brings

su it under the FLSA .

     Defendants cite Grav , 673 F .3d at 352 , to argue there

insu fficient evidence here to consider the Co -owners emp loyers . In

that case, a bartender sued the owner of a club as a purported

employer, but no ev idence showed the owner had exerted operational

control over the club beyond participating                corporate-level

decisions as a shareholder .      Id . at 355-356 .    The Fifth Circuit

distinguished cases where shareholders exercised real authority in

the business's operations and concluded there was no ev idence that

the owner was even an employer with regard to the club 's manager .

Id . at 356 .    Grav is therefore distingu ishable from this case ,

where there       not only evidence that the Co -owners superv ised

Mercy 's managers on a regular basis but also that the Co-owners

directly   controlled    the   wa itstaff's   pay .    This   evidence

competent to show that the Co-owners were employers, and             is the

Defendants' burden to point to evidence that shows a genu ine

conflict with

     Defendants cite four points of ev idence that they argue create

a fact issue .    First , the Defendants cite an unsigned contract

apparently written by John Caravello in which he requests , among

other things :        Comp lete control over operations and for the

Co-owners to stop interacting with and instructing Mercy 's staff,

    comp lete control over staffing , and             that the Co-owners

                                   -
                                       26-
    Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 27 of 32


reliably pay the staff.66 The contract is not signed and there is

no evidence it was ever agreed to by the Co -owners x ? Because the

contract is not signed , at most           shows that there were disputes

between    Caravello     and       Co-owners   about   how   to   run   Mercy .

Because the contract alludes to disputes regarding the Co -owners

being too involved with the staff and failing to reliably pay the

staff on time and does not show those disputes were ever resolved ,

the contract does not contradict the facts discussed above that

support the Co-owners' employer status .

      Second , Defendants submit a Declaration from Jonathan Reitzell

that states John Caravello had comp lete control over the waitstaff

and that the Co-owners udid not hire , fire , control or superv ise''

them .68   Third , Defendants point         the evidence that Caravello

wrote the Employee Handbook and prepared the nightly close-out

reports .6g Fourth , Defendants provide a text message conversation

where Caravello appears to be referred to as                      waitstaff's

''boss .''7o A s exp lained above , this evidence does not contravene the

critical     facts   exp lained   above   that the   Co -owners    supervised



     66unsigned Contract , Exhibit    to Defendants ' Response and
Motion for Continuance , Docket Entry No . 119-3, pp . 2-4 .

     67Id . at 6 .

     68Reitzel Declaration , Exhibit l to Defendants ' Response and
Motion for Continuance , Docket Entry No . 119-1,    2 $ 2.
     69Id.       IJ 2.
     VoText Message, Exhibit 4 to Defendants' Response and Motion
for Continuance , Docket Entry No . 119-4 , p .2 .
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 28 of 32


Caravello and controlled the waitstaff 's pay . Proof that Caravello

was the waitstaff 's primary manager or uboss'
                                             ' does not create a

fact issue as to whether        the Co-owners exercised operational

control over the club and waitstaff .

     The Co -owners did not have to control every aspect of the

employee-employer     relationship        for     employer     status   to

established . Gray , 673 F .3d at 357 .           Because the evidence cited

by Defendants only shows that the Co -owners did not control every

aspect of the employment relationship and does not contravene the

key evidence Plaintiffs cite that they exerted at least some

significant control , Defendants have not shown there is a genuine

issue for trial as to whether the Co-owners were employers under

the FLSA . See Little ,      F .3d at 1075 . Accordingly , Plaintiffs'

MSJ will be granted as to this issue .


     Employee Status

     Plaintiffs' MSJ also argues that there is no genuine issue of

material fact as to whether they were employees under the FLSA X I

The FLSA defines uemployee'' as simply nan individual emp loyed by an

employer.''     U.s .C. 5 2O3 (e) (1)          Uncontroverted deposition and
declaration ev idence establishes that Plaintiffs received training ,

uniform and scheduling instructions , and payment for serving as

waitstaff for Mercy Nightclub x z             Plaintiffs also filled out an


     Hplaintiffs ' MSJ , Docket En try No . 114,             l8 .

      H Dunphy Declaration , Exhibit to Plaintiffs ' MSJ , Docket Entry
No . 114-10, pp . 1-2 ; Carantza Declaration , Exhib it to Plaintiffs'
MSJ , Docket En try No . 114 -12 , pp . 1-2 .
                                   -
                                       28 -
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 29 of 32



employment application and W-4 tax form for Mercy .'3            Defendants

have not contested these facts, and the court concludes there is no

genuine issue of material fact as to Plaintiffs' emp loyee status .


                 VI . M inimum Waqe and Tip Violations

     After the commerce requirement and the establishment of the

employer-employee    relationship , the     final element          an    FLSA

minimum   wage   claim      that   the   employer    failed        paY   the

Plaintiffs the minimum wage required by statute . 29 U .S .C . 55

216(b).   The FLSA allows employees to recover any tips received
that the employer kept. Id . 55 203 (m)(2)(B), 2l6 (b). Plaintiffs
argue that there is no genuine issue of material fact as to whether

Defendants failed to pay the required minimum wage and unlawfully

kept tips, and requests summary judgment on liability and referral
of the action to the Magistrate Judge for a trial or mediation on

damages only .74 But in an unpaid wages case , liability and damages

turn on the same set of facts :      the hours worked by the employee

and the wages the emp loyer paid , if any .        Likewise , Plaintiffs '

claim for unlawfully kept tips turns on whether their ultimate pay

did not reflect the hours worked and tips received .               While a

plaintiff need not prove the precise extent of uncompensated work

when the employer failed to keep adequate employment records , the


     O caravello Deposition , Exhibit       to Plaintiffs' MSJ , Doeket
Entry No . 114 -5, p . 9
     M plaintiffs' MSJ , Docket Entry No .          pp . 24-25
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 30 of 32




employee must still ''produce lq sufficient evidence to show the

amount and extent             work as a matter of just and reasonable
inference .'' Anderson v . Mt . Clemens Potterv Co ., 66 S . Ct . 1187 ,

1192 (1946), superseded by statute on other grounds, Portal-to-
Portal Act     1947 , Pub .      No . 80-49 , 61 Stat .       as recoqnized

in Integritv Staffing Solutions, Inc. v . Busk ,               Ct . 513 , 51 9

(2014). Because Plaintiffs point to no evidence in the record that
approximates the wages and tips owed and admits these facts need

further development, they are not entitled to summary judgment on
liability .

     Plaintiffs also argue that there is no factual dispute that

the FLSA 'S tip credit allowance for tipped employees does not apply

   this case .    The FLSA tip credit allows employers                 pay a

reduced minimum wage to tipped emp loyees                 long as the tips

received meet or exceed the reduction .           U .S .C.    203 (m)(2)(A).
To qualify for the tip credit, however,            employers must inform

employees     the provisions of         203 (m), and         employees must
retain a11 tips received , with the exception that tip pooling is

permitted among emp loyees who customarily and regularly receive

tips . Id . The tip credit is best characterized as an affirmative

defense to a minimum wage claim , and it is the emp loyer's burden to

prove the tip credit applies.       Barcellona v . Tiffany English Pub ,

Incw 597 F.2d 464, 467 (5th Cir. 1979); see also Pedigo v . Austin
Rumbo, Incw                Supp . 2d          723-24      (W .D . Tex . 2010)
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 31 of 32




(collecting and analyzing cases). Defendants' briefing does not
respond to Plaintiffs ' argument and points               no evidence that

would show Plaintiffs were informed of 5 2O3 (m) or were permitted

to retain their tips. Accordingly, summary judgment that the tip
credit defense does not apply and that the waitstaff was entitled

to a full m inimum wage is warranted .         Plaintiffs still bear the

burden to prove at trial that their ultimate pay did not reflect

hours worked and tips received .


                       V II .   Conclusion and Order

                reasons explained        above, Plaintiffs ' Motion

Summary Judgment (Docket Entry No. 114) is therefore GRANTED IN
PART and DENIED IN PART . Plaintiffs' motion is granted as to FLSA

coverage, her employee status , the employer statu s of the Co -owner

defendants ,   and    the    applicab ility   of   the   FLSA   tip -credit .

Plaintiffs ' motion         denied as to liability .     Plaintiffs' Motion

to Strike Defendants' Supplemental Response to Plaintiffs ' Motion

for Summary Judgment EDkt.             and Defendants' Exhibits       and
(Dkts. 119-3, 119-41 to Defendants' Response to Plaintiffs' Motion

for Summary Judgment (Docket Entry No . 122) is DENIED . Defendants'

Rule 56 Motion for Partial Summary Judgment (Docket Entry No . 112)
   DENIED . Defendants' Motion for Leave to File Amended Pleading

(Docket Entry No .              DENIED . Defendants ' Supp lemental Motion

for Continuance and Response to Plaintiffs' Motion for Summary
   Case 4:17-cv-01225 Document 125 Filed on 11/15/19 in TXSD Page 32 of 32




Judgment (Docket Entry No. 120) is DENIED AS MOOT . This action is

REFERRED to United States Magistrate Judge Nancy K . Johnson for a

settlement conference .

     SIGNED at Houston , Texas , on this 15th day of November , 2019 .




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                                            A       S IM LA KE
                                       SENIOR UNITED STATES DISTRICT JUDGE




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